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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 2:23-cv-00419-JRG
Name of party requesting extension: Gearbox Software, L.L.C.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 9/27/2023
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 11/17/2023 (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: Michael J. Sacksteder
            State Bar No.: CSB No. 191605
            Firm Name: Fenwick & West LLP
            Address: 555 California Street, 12th Floor
                         San Francisco, CA 94104


            Phone: 415-875-2300
            Fax: 415-281-1350
            Email: msacksteder@fenwick.com
                  A certificate of conference does not need to be filed with this unopposed application.
